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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO. 1:18-cv-22923-DPG

JELEN CARPIO,
as personal representative of the
estate of DIOGENES CARPIO, JR..,

Plaintiff,
V.

NCL (BAHAMAS) LTD.,

D-I DAVIT INTERNATIONAL, INC.,
HATECKE SERVICE USA, LLC., and
D-I DAVIT INTERNATIONAL-HISCHE
GMBH,

Defendants.

DECLARATION

I, Carol L. Finklehoffe, pursuant to 28 U.S.C. §1746, hereby declare as follows:

1. Iam an attorney with Lipcon, Margulies, Alsina & Winkleman, P.A., and counsel for
the Plaintiff.

2. On August 7, 2018 Plaintiffs counsel advised counsel for Defendant Davit
International of the need to conduct limited discovery. [D.E. 30-1, p. 10]. On
September 26, 2018, Plaintiff requested dates for the deposition of Joachim Weise, the
individual who filed a declaration in support of Davit International’s Motion to Dismiss
and Alternatively for Summary Judgment. [D.E. 30-2]. To date Plaintiff has not
received a response to her request.

3. Plaintiffhas also propounded written discovery to Defendant Davit International.

LIPCON, MARGULIES, ALSINA & WINKLEMAN, P.A,
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4. Plaintiff requires the deposition of Mr. Weise and responses to discovery before she
can properly respond to the Motion for Summary Judgment.

5. This information is otherwise unavailable to the Plaintiff.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 5 day of October, 2018.

/} UN. Nentashall

Carol L. Finklehoffe

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LipcON, MARGULIES, ALSINA & WINKLEMAN, P.A.
